           Case 1:21-cr-00202-GHW Document 76 Filed 02/15/22 Page 1 of 1
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UNITED STATES DISTRICT COURT                                              DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: 2/15/2022
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 UNITED STATES OF AMERICA                                      :
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                              -v-                              :              1:21-cr-202-GHW
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 SEPEHR SARSHAR,                                               :                  ORDER
                                                               :
                                            Defendant. :
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GREGORY H. WOODS, United States District Judge:

         On November 9, 2021, the Court dismissed the indictment without prejudice. Dkt. No. 73.

The Clerk of Court is directed to close this case.

         SO ORDERED.

Dated: February 15, 2022
                                                                   __________________________________
                                                                           GREGORY H. WOODS
                                                                          United States District Judge
